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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH DAKOTA
                                      SOUTHERN DIVISION




TIMOTHY J. DONAHUE,                                 CIV 22-4044


              Plaintiff,

       vs.

                                                      ORDER OF RECUSAL
ARTHUR J. GAELAGHER & CO.,
a Delaware Corporation; and
BOB JACOBSEN,

              Defendants.




       Pursuant to 28 U.S.C. § 455(a),this Court hereby recuses itselffrom hearing or determining
any proceeding in the above matter.
       Dated this 5th day of April, 2022.

                                            BY THE COURT:



                                             ^dU3XXUOJL
                                            Lawrence E. Piersol
                                                                  CUSdJL^


                                            United States District Judge

ATTEST:
MATTHEW W. THEEEN,CLERK
